        Case 2:21-cv-01729-ACA Document 1 Filed 12/30/21 Page 1 of 10                     FILED
                                                                                 2022 Jan-03 AM 08:20
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

PARA LEE-JOHNSON,                       )
                                        )
      Plaintiff,                        )
                                        )       CIVIL ACTION NO.:
v.                                      )
                                        )       _____________________
CENTRA ASSET PARTNERS                   )
MANAGEMENT, LTD., and                   )
CENTRA PARTNERS, LLC,                   )       PLAINTIFF DEMANDS
                                        )       TRIAL BY STRUCK JURY
      Defendants.                       )




                                   COMPLAINT



                         JURISDICTION AND VENUE

      1.     This is a complaint for legal and equitable relief to redress violations

by the Defendant of the Plaintiff’s rights secured by:

             a.     Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.

                    § 2000e, et seq. (“Title VII”);

             b.     Pregnancy Discrimination Act (“PDA”), 42 U.S.C. § 2000e(k).

      2.     Federal subject matter jurisdiction exists pursuant to:

             a.     28 U.S.C. §§ 1331, 1343, and 1367;


                                            1
        Case 2:21-cv-01729-ACA Document 1 Filed 12/30/21 Page 2 of 10




             b.     Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.

                    § 2000e, et seq.

      3.     Venue is proper in this judicial district under 28 U.S.C. § 1391(b).



                                       PARTIES

      4.     Plaintiff Para Lee-Johnson (hereinafter “Plaintiff” or “Lee-Johnson”) is

a resident of Jefferson County, Alabama, and is over the age of nineteen (19) years.

Plaintiff was employed Centra Asset Management Partners, Ltd., as Assistant

Community Director for the City Heights apartment complex in Hoover, Alabama.

      5.     Defendants, Centra Asset Management Partners, Ltd. and Centra

Partners, LLC (hereinafter “Centra” or “Defendants”), are corporations doing

business in Jefferson County, Alabama, are employers under Title VII and have

more than fifteen (15) employees.



                              NATURE OF ACTION

      6.     Plaintiff brings this action against Defendants for acts of intentional sex

discrimination that occurred during her employment with Defendants.

      7.     Plaintiff seeks back pay and compensatory and punitive damages to

which she is entitled. Plaintiff also seeks attorney’s fees and costs.



                                           2
          Case 2:21-cv-01729-ACA Document 1 Filed 12/30/21 Page 3 of 10




                       ADMINISTRATIVE PROCEDURES

       8.     On November 6, 2020, within 180 days of the acts of discrimination of

which she complains, Plaintiff filed a Charge of Discrimination with the Equal

Employment Opportunity Commission (hereinafter “EEOC”). (See Exhibit A.)

       9.     On October 4, 2021, the EEOC issued a Notice of Right to Sue. (See

Exhibit B.)

       10.    All prerequisites for bringing this action have been met.



                            STATEMENT OF FACTS

       11.    Lee-Johnson is female and was pregnant at all times relevant to her

claims.

       12.    In January 2019, Lee-Johnson was hired by Implicity Management

Company, L.L.C. (“Implicity”), as Assistant Property Manager of the City Heights

apartment complex in Hoover, Alabama.

       13.    The owners of City Heights apartment complex hire management

companies to operate the property.

       14.    In August 2019, City Heights contracted with Defendant Centra to

manage its property.

       15.    Centra is a full service real estate company providing various types of

real estate assets.

                                          3
        Case 2:21-cv-01729-ACA Document 1 Filed 12/30/21 Page 4 of 10




      16.   As a result of the real estate contract change, Lee-Johnson became an

employee of Centra on August 23, 2019.

      17.   Centra changed Plaintiff’s title to Assistant Community Director of the

City Heights apartment complex. Plaintiff’s job duties were the same as she

previously held with Implicity.

      18.   Lee-Johnson was paid $16.00 per hour and worked forty (40) hours per

week in her position with Centra.

      19.   Lee-Johnson became pregnant in fall of 2019.

      20.   Susan Partrich (hereinafter “Partrich”) is a Regional Manager for

Centra and operates out of Baton Rouge, Louisiana.

      21.   In December 2019, Partrich visited the City Heights Hoover office and

saw Lee-Johnson was pregnant. Partrich expressed her shock and dismay that Lee-

Johnson was pregnant and interrogated Lee-Johnson about her pregnancy.

      22.   In December 2019, Lee-Johnson called Donna Phetteplace (hereinafter

“Phetteplace”), Vice President of Human Resources at Centra, and informed her

about her pregnancy and the need to take maternity leave in April 2020.

      23.   Phetteplace then sent Lee-Johnson an email reprimanding her for not

following Centra’s policy forcing pregnant women to disclose their pregnancies

within the first twelve (12) weeks of pregnancy and informing Lee-Johnson that she

would only be entitled to six (6) weeks of unpaid maternity leave.

                                         4
        Case 2:21-cv-01729-ACA Document 1 Filed 12/30/21 Page 5 of 10




      24.    Lee-Johnson informed Phetteplace, Partrich and Centra that because of

the complications associated with her pregnancy, she was uncertain about if or when

she would be induced, if she would need a caesarean, and exactly how much

maternity leave she would need.

      25.    On April 8, 2020, Lee-Johnson emailed a written request for maternity

leave to begin on April 13, 2020, with a doctor’s note attached. Phetteplace approved

Lee-Johnson’s request by return email.

      26.    On April 13, 2020, Lee-Johnson’s maternity leave began.

      27.    On May 16, 2020, Lee-Johnson received an email from Phetteplace

informing her she had been demoted from City Heights Hoover to City Heights

Homewood, a known problem property, at the same rate of pay ($16.00 per hour)

despite the City Heights Homewood position being advertised as $19.00 per hour.

      28.    Due to complications with her postpartum recovery, Lee-Johnson

emailed Phetteplace a doctor’s note showing that she would not be able to return to

work until July 1, 2020.

      29.    On June 29, 2020, Lee-Johnson informed Phetteplace that she was

unable to find childcare for her children due to the COVID-19 pandemic closures,

which could impact her ability to return to work as scheduled. Phetteplace provided

an Emergency FMLA Request Form, which Lee-Johnson executed and returned.



                                         5
        Case 2:21-cv-01729-ACA Document 1 Filed 12/30/21 Page 6 of 10




      30.       On July 8, 2020, Phetteplace terminated Lee-Johnson, effective June

30, 2020.



                          COUNT ONE
      TITLE VII GENDER DISCRIMINATION AND HARASSMENT

      31.       Plaintiff adopts and realleges 1 – 30 of the above referenced facts as if

fully recited here.

      32.       This is a claim against Defendants for the intentional discrimination

against Plaintiff because of her gender in violation of Title VII.

      33.       Plaintiff is female and was pregnant at all times relevant to this claim.

      34.       Plaintiff’s employment with Defendants had always been deemed

satisfactory.

      35.       Upon Defendant and its agents learning that Plaintiff was pregnant, she

was treated adversely and terminated.

      36.       Plaintiff’s membership in a protected class or association with a

protected class was a motivating factor in the Defendants’ decision to discipline,

harass and terminate Plaintiff’s employment.

      37.       Plaintiff was treated differently and subjected to differing terms and

conditions in comparison to her male counterparts and non-pregnant individuals due

to Plaintiff’s gender and her pregnancy.


                                             6
         Case 2:21-cv-01729-ACA Document 1 Filed 12/30/21 Page 7 of 10




       38.    As a proximate result of Defendants’ unlawful intentional

discrimination, Plaintiff suffered financial loss, economic loss, loss of career

advancement, shame, and humiliation.

       39.    Plaintiff seeks declaratory and injunctive relief, award of lost

employment and career benefits and wages, back pay, front pay, interest,

compensatory damages for loss of career opportunity, humiliation and

embarrassment, costs, attorney’s fees, punitive damages and any and all such other

relief the trier of fact may assess.



                            COUNT TWO
             PREGNANCY DISCRIMINATION AND HARASSMENT

       40.    Plaintiff adopts and realleges 12 – 30 of the above referenced facts as

if fully recited here.

       41.    This is a claim against Defendants for the intentional discrimination

against Plaintiff because of her pregnancy in violation of Title VII and the Pregnancy

Discrimination Act.

       42.    Plaintiff is female, a member of a protected class, and at all times

relevant to her claims, a pregnant female.

       43.    Plaintiff’s employment with Defendants was always deemed

satisfactory until Defendants learned of Plaintiff’s pregnancy in the fall of 2019.


                                          7
        Case 2:21-cv-01729-ACA Document 1 Filed 12/30/21 Page 8 of 10




      44.    After Plaintiff announced she was pregnant, Defendant became critical

of Plaintiff and her pregnancy.

      45.    Plaintiff was treated differently and subjected to differing terms and

conditions in comparison to non-pregnant employees due to her pregnancy.

      46.    Defendants made disparaging remarks to Plaintiff about her pregnancy

and subjected Plaintiff to disdain, ridicule, and hostility.

      47.    Defendants caused Plaintiff’s work conditions and terms to change.

      48.    Defendants adversely caused Plaintiff’s work location and hours to

change due to her pregnancy.

      49.    Defendants adversely caused Plaintiff to be subjected to policies and

procedures that were not required of non-pregnant employees.

      50.    Plaintiff was terminated due to her pregnancy and childbirth.

      51.    As a proximate result of Defendant’s unlawful intentional

discrimination, Plaintiff suffered financial loss, economic loss, loss of career

advancement, shame, and humiliation.

      52.    Plaintiff seeks declaratory and injunctive relief, award of lost

employment and career benefits and wages, back pay, front pay, interest,

compensatory damages for loss of career opportunity, humiliation and

embarrassment, costs, attorney’s fees, punitive damages and any and all such other

relief the trier of fact may assess.

                                            8
           Case 2:21-cv-01729-ACA Document 1 Filed 12/30/21 Page 9 of 10




      WHEREFORE, Plaintiff respectfully requests this Court:

      I.       Permanently enjoin Defendants from engaging further in their

discriminatory treatment on the basis of gender and pregnancy;

      II.      Order Defendants, their agents, and employees to institute and carry out

policies, practices, and programs which provide equal employment opportunities for

women, and which eradicate the effects of their past and present unlawful

employment practices, including implementing a consistent policy against gender

discrimination and pregnancy discrimination in the work place;

      III.     Order Defendants, their agents, and employees to make Plaintiff whole

by providing appropriate back pay with prejudgment interest, front pay, employment

benefits, and other monetary relief as may be available to her;

      IV.      Award Plaintiff compensatory and punitive damages;

      V.       Award Plaintiff her costs and expenses herein, including reasonable

attorney’s fees; and

      VI.      Award such other and further additional relief which this Court deems

necessary and proper.

                                                Respectfully submitted,

                                                /s/ Alicia K. Haynes
                                                Al icia K. Haynes
                                                Attorney for Plaintiff
                                           9
       Case 2:21-cv-01729-ACA Document 1 Filed 12/30/21 Page 10 of 10




OF COUNSEL:
HAYNES & HAYNES, P.C.
1600 Woodmere Drive
Birmingham, AL 35226
(205) 879-0377
akhaynes@haynes-haynes.com


           PLAINTIFF DEMANDS TRIAL BY STRUCK JURY


PLEASE SERVE DEFENDANTS VIA CERTIFIED MAIL

Centra Asset Partners Management, Ltd.
Juliana Andrade, Registered Agent
1409A Lancewood Drive NW
Huntsville, AL 35816

Centra Partners, LLC
Juliana Andrade, Registered Agent
1409 Lancewood Drive NW
Huntsville, AL 35816


PLAINTIFF’S ADDRESS:
Ms. Para Lee-Johnson
c/o Alicia K. Haynes
Haynes & Haynes, P.C.
1600 Woodmere Drive
Birmingham, Alabama 35226




                                     10
